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United States Bankruptcy Court for the:
DISTRICT OF NEW HAMPSHIRE

Case number (if known) Chapter 11

[1] Check if this an
amended filing

 

 

Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy 06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-individuals, is available.

1. Debtor's name NewCo, LLC

 

2. All other names debtor
used in the last 8 years

Include any assumed
names, trade names and
doing business as names

 

3. Debtor's federal
Employer Identification | XX-XXXXXXX
Number (EIN)

 

 

 

 

4. Debtor's address Principal place of business Mailing address, if different from principal place of
business
3 Amalia Drive P.O.Box 999
Nashua, NH 03063 Lincoln, NH 03251
Number, Street, City, State & ZIP Code P.O. Box, Number, Street, City, State & ZIP Code
Hillsborough Location of principal assets, if different from principal
County place of business

Woodland Loop Lincoln, NH 03251
Number, Street, City, State & ZIP Code

 

5. Debtor's website (URL)

 

 

6. Type of debtor XX] Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
C1 Partnership (excluding LLP)

(1 Other. Specify:

 

 

Official Form 201 Voluntary Petition for Non-Individuals Filing for Bankruptcy page 1
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Debtor NewCo, LLC

Case number (if known)

 

Name

 

7. Describe debtor's business A. Check one:

Health Care Business (as defined in 11 U.S.C. § 101(27A))
Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
Railroad (as defined in 11 U.S.C. § 101(44))

Stockbroker (as defined in 11 U.S.C. § 101(53A))

Commodity Broker (as defined in 11 U.S.C. § 101(6))
Clearing Bank (as defined in 11 U.S.C. § 781(3))

None of the above

OOOOORO

B. Check all that apply

C Tax-exempt entity (as described in 26 U.S.C. §501)

C1 Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
[1 Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
http://www.uscourts.gov/four-digit-national-association-naics-codes.

 

—5313
8. Under which chapter of the Check one:
Bankruptcy Code is the C1 Chapter 7
debtor filing?
ome OU Chapter 9

A debtor who is a “small
business debtor" must check
the first sub-box. A debtor as
defined in § 1182(1) who
elects to proceed under
subchapter V of chapter 11
(whether or not the debtor is
a “small business debtor”)
must check the second
sub-box.

XX] Chapter 11. Check all that apply:

[1] The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
$3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
operations, cash-flow statement, and federal income tax return or if any of these documents do not
exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

[1 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

A plan is being filed with this petition.

Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
accordance with 11 U.S.C. § 1126(b).

[1 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
Attachment to Voluntary Petition for Non-individuals Filing for Bankruptcy under Chapter 11
(Official Form 201A) with this form.

[1 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.

OO

(1) Chapter 12

 

 

9. Were prior bankruptcy EX] No.

cases filed by or against 0 Yes.

the debtor within the last 8

years?

If more than 2 cases, attach a

separate list. District When Case number

District When Case number

10. Are any bankruptcy cases [x] No

pending or being filed bya [] Yes.

business partner or an
affiliate of the debtor?

List all cases. If more than 1,
attach a separate list

Official Form 201

Debtor "__ Relationship
District When Case number, if known

 

Voluntary Petition for Non-Individuals Filing for Bankruptcy page 2
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Debtor NewCo, LLC

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Case number (if known)

 

Name

 

 

11. Why is the case filed in
this district?

Check all that apply:

KX] Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
preceding the date of this petition or for a longer part of such 180 days than in any other district.

(1 A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

 

12. Does the debtor own or
have possession of any
real property or personal
property that needs
immediate attention?

KX] No
Yes.

Answer below for each property that needs immediate attention. Attach additional sheets if needed.

Why does the property need immediate attention? (Check all that apply.)
1 It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
What is the hazard?

 

(J It needs to be physically secured or protected from the weather.

(C1 It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).

C1 Other

 

Where is the property?

 

Number, Street, City, State & ZIP Code
Is the property insured?
CINo

(1 Yes. Insurance agency

 

Contact name

 

Phone

 

 

Bae] Statistical and administrative information

 

13. Debtor's estimation of
available funds

Check one:

&X Funds will be available for distribution to unsecured creditors.

LC After any administrative expenses are paid, no funds will be available to unsecured creditors.

 

 

14. Estimated number of XX] 1-49 C1 1,000-5,000 CO 25,001-50,000
creditors 50-99 0 5001-10,000 (1 50,001-100,000
CJ 100-199 0 10,001-25,000 TC More than100,000
LC 200-999
15. Estimated Assets LC] $0 - $50,000 KX} $1,000,001 - $10 million C1 $500,000,001 - $1 billion

0 $50,001 - $100,000
C0 $100,001 - $500,000
LD $500,001 - $1 million

L] $10,000,001 - $50 million
CJ $50,000,001 - $100 million
C1 $100,000,001 - $500 million

C1 $1,000,000,001 - $10 billion
C1 $10,000,000,001 - $50 billion
C1 More than $50 billion

 

16. Estimated liabilities

1 $0 - $50,000

O $50,001 - $100,000
C1 $100,001 - $500,000
0 $500,001 - $1 million

$1,000,001 - $10 million

0 $10,000,001 - $50 million

UO $50,000,001 - $100 million

O01 $100,000,001 - $500 million

1 $500,000,001 - $1 billion

0 $1,000,000,001 - $10 billion
0 $10,000,000,001 - $50 billion
O1 More than $50 billion

 

Official Form 201

Voluntary Petition for Non-Individuals Filing for Bankruptcy

page 3
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Debtor NewCo, LLC Case number (if known)

 

 

Name

Ea Request for Relief, Declaration, and Signatures

 

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
of authorized The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
representative of debtor
| have been authorized to file this petition on behalf of the debtor.
| have examined the information in this petition and have a reasonable belief that the information is true and correct.

| declare under penalty of perjury that the foregoing is true and correct.

Executed on May 12, 2023

 

 

MM/DD/YYYY
X Is! Jared R. Elliott Jared R. Elliott
Signature of authorized representative of debtor Printed name

Title _Manger, Sole Member

 

 

18. Signature of attorney X Is/ Jesse Redlener Date May 12, 2023

 

Signature of attorney for debtor MM/DD/YYYY

Jesse Redlener
Printed name

Ascendant Law Group, LLC
Firm name

2 Dundee Park Drive

Suite 102

Andover, MA 01810

Number, Street, City, State & ZIP Code

Contact phone Email address _jredlener@ascendantlawgroup.com

19658 NH
Bar number and State

 

Official Form 201 Voluntary Petition for Non-Individuals Filing for Bankruptcy page 4
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Debtor name NewCo, LLC

United States Bankruptcy Court for the: _DISTRICT OF NEW HAMPSHIRE

Case number (if known) q
Check if this is an
amended filing

 

 

Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy 04/22

The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Income

1. Gross revenue from business

 

EX] None.
Identify the beginning and ending dates of the debtor’s fiscal year, Sources of revenue Gross revenue
which may be a calendar year Check all that apply (before deductions and

exclusions)
2. Non-business revenue
Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

KX] None.

Description of sources of revenue Gross revenue from
each source
(before deductions and
exclusions)

List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
and every 3 years after that with respect to cases filed on or after the date of adjustment.)

KX] None.

Creditor’s Name and Address Dates Total amount of value Reasons for payment or transfer
Check all that apply

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

KX] None.

Insider's name and address Dates Total amount of value Reasons for payment or transfer
Relationship to debtor

5. Repossessions, foreclosures, and returns
List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold
at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

Official Form 207 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy page 1

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Debtor NewCo, LLC Case number (if known)

&] None

Creditor’s name and address Describe of the Property Date Value of property
6. Setoffs

List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account

of the debtor without permission or refused to make a payment at the debtor's direction from an account of the debtor because the debtor owed a
debt.

KI None

Creditor’s name and address Description of the action creditor took Date action was Amount
taken

[GEER Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
in any capacity—within 1 year before filing this case.

 

OC None.
Case title Nature of case Court or agency's name and Status of case
Case number address
7.1. NewCo LLC v. Yager Family Civil Graton Superior Court, State KK] Pending
Management LLC of New Hampshire L] On appeal
215-2023-cv-35 L] Concluded
7.2. BDBC, LLC v. NewCo, LLC, Contract Grafton Superior Court, New [] Pending
Case No. 215-2-23-CV-00021 Hampshire L] Onappeal
1 Concluded

 

8. Assignments and receivership

List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
receiver, custodian, or other court-appointed officer within 1 year before filing this case.

I None

Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
the gifts to that recipient is less than $1,000

KX] None

Recipient's name and address Description of the gifts or contributions Dates given Value

Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

&X] None
Description of the property lost and Amount of payments received for the loss Dates of loss Value of property
how the loss occurred lost

If you have received payments to cover the loss, for
example, from insurance, government compensation, or
tort liability, list the total received.

List unpaid claims on Official Form 106A/B (Schedule
A/B: Assets — Real and Personal Property).

(GERXGH Certain Payments or Transfers

11. Payments related to bankruptcy

Official Form 207 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy page 2

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Debtor NewCo, LLC Case number (if known)

 

List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
relief, or filing a bankruptcy case.

XC None.
Who was paid or who received If not money, describe any property transferred Dates Total amount or
the transfer? value
Address

11.1. Ascendant Law Group LLC
2 Dundee Park Drive, Suite 102 May 11,
Andover, MA 01810 2023 $20,000.00

 

Email or website address
Ih@ascendantlawgroup.com

 

Who made the payment, if not debtor?
Amaranth Trust

 

12. Self-settled trusts of which the debtor is a beneficiary
List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
to a self-settled trust or similar device.
Do not include transfers already listed on this statement.

KX] None.

Name of trust or device Describe any property transferred Dates transfers : Total amount or
were made value

13. Transfers not already listed on this statement
List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

KI] None.
Who received transfer? Description of property transferred or Date transfer Total amount or
Address payments received or debts paid in exchange was made value

Previous Locations

14. Previous addresses
List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.

&X] Does not apply

Address Dates of occupancy
From-To

Health Care Bankruptcies

15. Health Care bankruptcies
Is the debtor primarily engaged in offering services and facilities for:
- diagnosing or treating injury, deformity, or disease, or
- providing any surgical, psychiatric, drug treatment, or obstetric care?

KK] No. Go to Part 9.
C1 Yes. Fill in the information below.

Facility name and address Nature of the business operation, including type of services If debtor provides
the debtor provides meals and housing,
number of patients in
debtor’s care

Personally Identifiable Information

 

Official Form 207 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy page 3

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Debtor NewCo, LLC Case number (if known)

 

 

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
profit-sharing plan made available by the debtor as an employee benefit?

KX] No. Go to Part 10.
[1 Yes. Does the debtor serve as plan administrator?

ieee Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor's benefit, closed, sold,
moved, or transferred?
Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
cooperatives, associations, and other financial institutions.

K] None
Financial Institution name and Last 4 digits of Type of account or Date account was Last balance
Address account number instrument closed, sold, before closing or
moved, or transfer
transferred

19. Safe deposit boxes
List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this

case.
XJ None
Depository institution name and address Names of anyone with Description of the contents Does debtor
access to it still have it?
Address

20. Off-premises storage
List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
which the debtor does business.
&X] None
Facility name and address Names of anyone with Description of the contents Does debtor
access to it still have it?
xg Property the Debtor Holds or Controls That the Debtor Does Not Own
21. Property held for another
List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do

not list leased or rented property.

KX] None

jam Ps Details About Environment Information

For the purpose of Part 12, the following definitions apply:
Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
medium affected (air, land, water, or any other medium).

Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
owned, operated, or utilized.

Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.
22, Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

KK No.

OO sYes. Provide details below.

Official Form 207 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy page 4

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Debtor NewCo, LLC Case number (if known)
Case title Court or agency name and Nature of the case Status of case
Case number address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
environmental law?

KX] No.

OsYes. Provide details below.

Site name and address Governmental unit name and Environmental law, if known Date of notice
address

24. Has the debtor notified any governmental unit of any release of hazardous material?

XX] No.

C1 Yes. Provide details below.

Site name and address Governmental unit name and Environmental law, if known Date of notice
address

GGEEEER Details About the Debtor's Business or Connections to Any Business

 

25, Other businesses in which the debtor has or has had an interest
List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
Include this information even if already listed in the Schedules.

KI None

Business name address Describe the nature of the business Employer Identification number
Do not include Social Security number or ITIN.

Dates business existed

26. Books, records, and financial statements
26a. List all accountants and bookkeepers who maintained the debtor's books and records within 2 years before filing this case.
KK] None

Name and address Date of service
From-To

26b. List all firms or individuals who have audited, compiled, or reviewed debtor's books of account and records or prepared a financial statement
within 2 years before filing this case.

KJ None

26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.
CX None

Name and address If any books of account and records are
unavailable, explain why
26c.1. Jennifer Amarnath
18101 Watercraft Pl
Cornelius, NC 28031

 

26c.2. Jared R. Elliott
c/o Mt. Coolidge Construction LLC
Nashua, NH 03063

 

26c.3. Rohit Amarnath
18101 Watercraft PI
Cornelius, NC 28031

 

26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
statement within 2 years before filing this case.

KI None

Official Form 207 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy page 5

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Debtor NewCo, LLC Case number (if known)

 

 

Name and address

27. Inventories
Have any inventories of the debtor's property been taken within 2 years before filing this case?

KX No

[C1 Yes. Give the details about the two most recent inventories.

Name of the person who supervised the taking of the Date of inventory The dollar amount and basis (cost, market,
inventory or other basis) of each inventory

28. List the debtor's officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
in control of the debtor at the time of the filing of this case.

Name Address Position and nature of any % of interest, if
interest any
Jared R. Elliott P.O. Box 999 Manager and Sole Member 100

Lincoln, NH 03251

 

29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
control of the debtor, or shareholders in control of the debtor who no longer hold these positions?

Xx No
1 Yes. Identify below.

30. Payments, distributions, or withdrawals credited or given to insiders
Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
loans, credits on loans, stock redemptions, and options exercised?

KI No
OO Yes. Identify below.

Name and address of recipient Amount of money or description and value of Dates Reason for
property providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

KX No
O Yes. Identify below.

Name of the parent corporation Employer Identification number of the parent
corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

Xx] No
CO Yes. Identify below.

Name of the pension fund Employer Identification number of the pension
fund
Official Form 207 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy page 6

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Debtor NewCo, LLC Case number (if known)

 

tlimcem@ Signature and Declaration

WARNING -— Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

| have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
and correct.

| declare under penalty of perjury that the foregoing is true and correct.
Executed on May 12, 2023

/s/__Jared R. Elliott Jared R. Elliott
Signature of individual signing on behalf of the debtor Printed name

Position or relationship to debtor Manger, Sole Member

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
KI No

O1 Yes

Official Form 207 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy page 7

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Debtor name NewCo, LLC

 

United States Bankruptcy Court for the: DISTRICT OF NEW HAMPSHIRE

Case number (if known) oO k If th
Check If this is an
amended filing

 

 

Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property 125

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

 

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor's interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.

Cash and cash equivalents

   

 

1. Does the debtor have any cash or cash equivalents?

No. Go to Part 2.

(C1 Yes Fill in the information below.

All cash or cash equivalents owned or controlled by the debtor Current value of
debtor's interest

Deposits and Prepayments

 

 

6. Does the debtor have any deposits or prepayments?

XJ No. Go to Part 3.
OO Yes Fill in the information below.

Accounts receivable

 

10. Does the debtor have any accounts receivable?

EI No. Goto Part 4,
QO Yes Fill in the information below.

GEE Investments

 

13. Does the debtor own any investments?

BINo. Goto Part 5.
U1 Yes Fill in the information below.

Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

 

KI. No. Goto Part 6.
U1 Yes Fill in the information below.

Farming and fishing-related assets (other than titled motor vehicles and land)

 

27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

KI No. Go to Part 7.
U1 Yes Fill in the information below.

Office furniture, fixtures, and equipment; and collectibles

Official Form 206A/B Schedule A/B Assets - Real and Personal Property page 1
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Debtor NewCo, LLC Case number (if known)
Name

 

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

KX) No. Go to Part 8.
(1 Yes Fill in the information below.

Latal sh Machinery, equipment, and vehicles

46. Does the debtor own or lease any machinery, equipment, or vehicles?

CINo. Goto Part 9.
KX] Yes Fill in the information below.

 

 

General description Net book value of Valuation method used Current value of
Include year, make, model, and identification numbers debtor's interest for current value debtor's interest
(i.e., VIN, HIN, or N-number) (Where available)
47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles
47.1. 2002 Ford F350 Pickup truck $4,673.00 Comparable sale $4,673.00
48. Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,

floating homes, personal watercraft, and fishing vessels

49, Aircraft and accessories

50. Other machinery, fixtures, and equipment (excluding farm
machinery and equipment)

 

St. Total of Part 8.
Add lines 47 through 50. Copy the total to line 87.

$4,673.00

 

 

 

52. Is a depreciation schedule available for any of the property listed in Part 8?
I No
OYes

53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
KI No
0 Yes

Real property

 

54. Does the debtor own or lease any real property?

[CINo. Go to Part 10.
KX Yes Fill in the information below.

55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

Description and location of Nature and Net book value of Valuation method used Current value of
property extent of debtor's interest for current value debtor's interest
Include street address or other debtor's interest (Where available)

description such as Assessor in property

Parcel Number (APN), and type

of property (for example,

acreage, factory, warehouse,

apartment or office building, if

available.

Official Form 206A/B Schedule A/B Assets - Real and Personal Property page 2
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Debtor NewGo, LLC Case number (if known)

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Name

55.1. Duplex Units 41, 53
and 54 in the Forest
Woods Development:
Garden style Units
25-36 in the Forest
Gardens Development;
and
Undeveloped property
In the Forest Gardens
development for
building three
additional 12-unit
buildings (units 37-72),
12 Twin Tip Terrace,
f/k/a Woodland Loop,
NH, 03251

Forest Wood
Condominium Fee Simple Unknown Appraisal

$8,500,000.00

 

56. Total of Part 9,

Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
Copy the total to line 88,

57. Is a depreciation schedule available for any of the property listed in Part 9?

KK] No
0 Yes

58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
KI No
OO Yes

im-UsHeeea! Intangibles and intellectual property

 

$8,500,000.00

 

 

 

 

59. Does the debtor have any interests in intangibles or intellectual property?

KI No. Go to Part 11.
C1 Yes Fill in the information below.

ats a All other assets

 

70. Does the debtor own any other assets that have not yet been reported on this form?
Include all interests in executory contracts and unexpired leases not previously reported on this form.

KI No. Go to Part 12.
LD Yes Fill in the information below.

Official Form 206A/B Schedule A/B Assets - Real and Personal Property
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page 3
Best Case Bankruptcy
Debtor

Case: 23-10250-BAH Doc #: 1 Filed: 05/12/23 Desc: Main Document

NewCo, LLC

Name

[ERIE sary

In Part 12 copy all of the totals from the earller parts of the form

80,

81,
82.
83.
84.
85.

86.

87.

88,

89.

90.

91.

92.

Official Form 206A/B

Type of property

Cash, cash equivalents, and financial assets.
Copy line 5, Part 1

Deposits and prepayments. Copy line 9, Part 2,
Accounts receivable, Copy line 12, Part 3.

Investments. Copy line 17, Part 4.

Inventory. Copy line 23, Part 5.

Farming and fishing-related assets. Copy line 33, Part 6.

Office furniture, fixtures, and equipment; and collectibles,
Copy line 43, Part 7.

Machinery, equipment, and vehicles. Copy line 51, Part 8.

Real property. Copy line 56, Part 9...c.ccccccssesssscssssscsscsescessvecssesnases

Intangibles and intellectual property. Copy line 66, Part 10.

All other assets. Copy line 78, Part 11,

Current value of
personal property

$0.00

 

$0.00

$0.00

$0.00

$0.00

$0.00

$0.00

$4,673.00

$0.00
$0.00

Case number (if known)

Page 15 of 35

 

Current value of real

property

 

 

$8,500,000.00

 

 

 

Total. Add lines 80 through 90 for each column

 

$4,673.00

 

+ 91b.

 

$8,500,000.00

 

 

Total of all property on Schedule A/B. Add lines 91a+91b=92

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Schedule A/B Assets - Real and Personal Property

 

 

$8,504,673.00

 

 

page 4

Best Case Bankruptcy
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SMM GEM UNCLE ited R OM Cla ATA lke ots

Deblorname NewCo, LLC

United States Bankruptcy Court for the: _DISTRICT OF NEW HAMPSHIRE

Case number (if known)

[1 Check If this is an
amended filing

 

 

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property 12/15

Be as complete and accurate as possible.
1, Do any creditors have claims secured by debtor's property?

(No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
EX] Yes. Fill In all of the information below.

[GENRE List Creditors Who Have Secured Claims

 

 

 

 

 

 

 

 

 

 

 

 

2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured edliamae A vol 8
claim, list the creditor separately for each claim. Amount of claim Value of collateral
that supports this
Do not deduct the value claim
of collateral.
24 Yager Family Management,
[LLC Describe debtor's property that is subject to a lien .$2,800,000.00 $8,500,000.00
Creditor’s Name Duplex Units 41, 53 and 54 in the Forest Woods
Development;Garden style Units 25-36 in the
Forest Gardens Development; and Undeveloped
property in the Forest Gardens development for
building three additional 12-unit buildings (units
37-72), 12 Twin Tip Terrace, f/k/a Woodland
57 Flanagan Drive Loop, NH, 03251Forest Wood Condominium
Framingham, MA 01701
Creditor’s mailing address Describe the lien
First Mortgage
Is the creditor an insider or related party?
Bl No
Creditor’s email address, if known 0 Yes
Is anyone else liable on this claim?
Date debt was incurred EI No
March 18, 2018 1 Yes. Fill out Schedule H: Codebtors (Official Form 206H)
Last 4 digits of account number
i
Do multiple creditors have an As of the petition filing date, the claim is:
interest In the same property? Check all that apply
EI No 01 Contingent
C1 Yes. Specify each creditor, ) Unliquidated
including this creditor and its relative 4] Disputed
priority.
$2,800,000.0
3, Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any. 0

 

 

 

List Others to Be Notified for a Debt Already Listed in Part 4

List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.

 

Name and address On which line in Part 1 did you Last 4 digits of
enter the related creditor? account number for
this entity
Official Form 206D Schedule D: Creditors Who Have Claims Secured by Property page 1 of 1

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Case: 23-10250-BAH Doc #: 1 Filed: 05/12/23 Desc: Main Document Page 17 of 35

UUM MM eT UNA TH ees

Debtorname NewCo, LLC

United States Bankruptcy Court for the: _DISTRICT OF NEW HAMPSHIRE

Case number (if known)

1 Check if this is an
amended filing

 

 

Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims 12115

Be as complete and accurate as possible, Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result In a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 In the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

List All Creditors with PRIORITY Unsecured Claims

1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
Bl No. Go to Part 2.
11 Yes. Go to line 2.

List All Creditors with NONPRIORITY Unsecured Claims

3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If he deblor has more than 6 creditors with nonpriority unsecured claims, fill
out and attach the Additional Page of Part 2,

Amount of claim

 

 

 

 

 

[31] Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. Unknown
Anand and Nancy Lange-Vaidya .
34 Birch Street Fy Unigueted
Needham Heights, MA 02494 Ci Disputed
Date(s) debt was incurred __ Basis for the clalm:
Last 4 digits of account number _ Is the claim subject to offset? EINo O Yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check ail that apply. $0.00
Andrew J Erickson and/or Assigns
108 Bell Valley Road Bal Contingent
. 0 Unliquidated
Elkins, NH 03233 C1 Disputed
Date(s) debt was incurred _ Basis for the claim:
Last 4 digits of account number _ Is the claim subject to offset? KINo 1] Yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply, $316,050.00
BDBC, LLC d/b/a Century 21 Mountainside
P.O. Box 850
a Contingent
‘ Unliquidated
Lincoln, NH 03251 I Dispuled
Date(s) debt was incurred _ Basis for the claim: Trade debt
Last 4 digits of account number _ Is the claim subject to offset? KINo [Yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. __ Unknown,
Cory and Michele Madaris Bl conti
7 Lincoln Road Gandagert
O Unliquidated
Wayland, MA 01778 O Disputed
Date(s) debt was incurred _ Basis for the claim: _
Last 4 digits of account number _ Is the claim subject to offset? EINo [1 Yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. _____- $48,000.00.
Dupuis Contruction, LLC Gorlinsent
55 Marlboro Rd, Suite 13 H Gey
Brattleboro, VT 05301 O1 Disputed
Date(s) debt was Incurred _ Basis for the claim: Trade debt
Last 4 digits of account number _ Is the claim subject to offset? EINo [Yes
Official Form 206E/F Schedule E/F: Creditors Who Have Unsecured Claims page 1 of 3

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Debtor _NewCo, LLC

Name

Case number (it knewn)

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Nonpriority creditor's name and malling address As of the petition fillng date, the clalm Is! Chock all that apply. Unknown
Erick and Christine Brown Gohtingent
11 Bicknell Drive a Contingen
(2 Unliquidated
Mendon, MA 01756 (1 Disputed
Date(s) debt was incurred __ Basis for the clalm:
Last 4 digits of account number _ Is the claim subject to offset? {KINo [1 Yes
Nonpriorlity creditor's name and malling address As of the petition fillng date, the claim Is: Check all that apply. Unknown
Karl and Mary Zonghi
4 Spruce Circle fl Contingent
DO unliquidated
Hopedale, MA 01747 Ol Disputed
Date(s) debt was Incurred _ Basis for the claim:
Last 4 digits of account number _ Is the claim subject to offset? KINo [Yes
Nonpriority creditor's name and malling address As of the petition filing date, the claim is: Check all that apply. Unknown
Kevin P. and Meghan G. Klauer #4 camusnact
55 Blair Lane ontingen
0 Unliquidated
Falmouth, MA 02540 Cl Disputed
Date(s) debt was incurred _ Basis for the claim:
Last 4 digits of account number __ Is the clalm subject to offset? KINo [1] Yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim Is: Check all that apply. Unknown
Michael and Mary Beth Meade Fl Contingent
53 Linden Ridge Road ontingan
D2 Unliquidated
Amherst, MA 01002 CO Disputed
Date(s) debt was Incurred __ Basis for the claim:
Last 4 digits of account number _ Is the claim subject to offset? EKINo [O1Yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim Is: Check alf that apply. $600,000.00
Mt. Coolidge Construction, LLC Piseat
3 Amalia Drive [1 Uniquidated
Nashua, NH 03063 O Disputed
Date(s) debt was incurred _ Basis for the claim: Trade debt
Last 4 digits of account number _ Is the claim subject to offset? No [Yes
3.11 Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. Unknown
Pine Bluff Terrace Mountain House Realty Ed Contingent
. ‘ontingen
26 Bristol Road 1 Unliquidated
Peabody, MA 01960 O Disputed
Date(s) debt was incurred _ Basis for the claim:
Last 4 digits of account number _ Is the claim subject to offset? KINo [1 Yes
3.12 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. $0.00
Richard D. and Kimberly R. Klauber C1 Contingent
11 Townline Road Oo Unlquidated
Norfolk, MA 02038 0 Disputed
Date(s) debt-was incurred _ Basis for the claim: _
Last 4 digits of account number _ Is the claim subject to offset? KJNo [1 Yes
3.13 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. Unknown
Shirley Freeman 6 Contingent
2696 Lake Shore Road oniingen
: O Unliquidated
Gilford, NH 03249 0 Disputed
Date(s) debt was incurred _ Basis for the claim: __
Last 4 digits of account number __ Is the claim subjecl to offset? KJNo (1 Yes
Official Form 206 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 2 of 3

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Best Case Bankruptcy
Case: 23-10250-BAH Doc #: 1 Filed:

Debtor _NewCo, LLC

Name

Nonpriority creditor's name and malling address

Stephen R. and Lorraine J. Clark
39 Huckleberry Lane
Hampton, NH 03843

Date(s) debt was Incurred _

Last 4 digits of account number _

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Case number (if known)

 

As of the petition filing date, the claim is: Check all that apply.

I Contingent

C] Unliquidated

(C Disputed

Basis for the claim: _

Is the claim subject to offset? KINo (1 Yes

Unknown

 

EETEHI List Others to Be Notified About Unsecured Claims

4, List in alphabetical order any others who must be notified for claims listed I

assignees of claims listed above, and attorneys for unsecured creditors.

in Parts 1 and 2, Examples of entities that may be listed are collection agencies,

If no others need to be notified for the debts listed In Parts 1 and 2, do not fill out or submit this page. It additlonal pages are needed, copy the next page.

Name and malling address

On which Iine in Part1 or Part 2 Is the Last 4 digits of
related creditor (if any) listed? account number, If
any

Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured clalms.

5a. Total claims from Part 1
5b. Total claims from Part 2

5c. Total of Parts 1 and 2
Lines 5a + 5b = 5c,

Total of claim amounts

5a. $ 0.00
5b. + § 964,050.00

 

s. |s__ 964,050.00.

 

 

 

Official Form 206 E/F Schedule E/F: Creditors Who Have Unsecured Claims

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Best Case Bankruptcy
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Debtorname NewCo, LLC

United States Bankruptcy Court for the: _DISTRICT OF NEW HAMPSHIRE

Case number (if known)

 

(1 Check If this is an
amended filing

 

Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases 12/45

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1. Does the debtor have any executory contracts or unexpired leases?
[1] No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.

-X] Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal Property
(Official Form 206A/B).

2. List all contracts and unexpired leases State the name and mailing address for all other parties with
whom the debtor has an executory contract or unexpired
lease

2.1, State what the contract or Purchase and Sale

lease is for and the nature of | Agreement for Unit 32
the debtor's interest Forest Garden
Condominium

State the term remaining
Anand and Nancy Lange-Vaidya

 

 

List the contract number of any 34 Birch Street
government contract Needham Heights, MA 02494.
2.2. State what the contract or Purchase and Sale
lease is for and the nature of | Agreement for Unit 30
the debtor's interest Forest Gardens

Condominium
State the term remaining

Cory and Michele Madaris

 

 

List the contract number of any 7 Lincoln Road
government contract Wayland, MA 01778
2.3. State what the contract or Purchase and Sale
lease is for and the nature of | Agreement for Unit 54
the debtor's interest Forest Woods at Loon

Mountain Condominium
State the term remaining

Karl and Mary Zonghi

 

 

List the contract number of any 4 Spruce Circle
government contract Hopedale, MA 01747
2.4. State what the contract or Purchase and Sale
lease is for and the nature of | Agreement for Unit 25
the debtor's interest Forest Gardens

Condominium
State the term remaining

Kevin P. and Meghan G. Klauer

 

 

List the contract number of any 55 Blair Lane
government contract Falmouth, MA 02540
Official Form 206G Schedule G: Executory Contracts and Unexpired Leases Page 1 of 3

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Case: 23-10250-BAH Doc #: 1 Filed: 05/12/23 Desc: Main Document Page 21 of 35

 

Debtor 1 _NewCo, LLC Case number (itknown) ooo
First Name Middle Name Last Name
ee Additional Page if You Have More Contracts or Leases
2. List all contracts and unexpired leases State the name and mailing address for all other parties with
whom the debtor has an executory contract or unexpired
lease
2.5, State what the contract or Purchase and Sale
lease Is for and the nature of | Agreement for Unit 29
the debtor's interest Forest Garden
Condominium

State the term remaining
Pine Bluff Terrace Mountain House Realty

 

 

List the contract number of any 26 Bristol Road
government contract . Peabody, MA 01960
2.6. State what the contract or Purchase and Sale
lease is for and the nature of | Agreement for Unit 41
the debtor's interest Forest Woods at Loon

Mountain Condominium
State the term remaining
Richard D. and Kimberly R. Klauber

 

 

List the contract number of any 11 Townline Road
government contract Norfolk, MA 02038
2.7. State what the contract or Purchase and Sale
lease is for and the nature of | Agreement for Unit 53
the debtor's interest Forest Woods at Loon

Mountain Condominium
State the term remaining
Shirley Freeman

 

 

List the contract number of any 2696 Lake Shore Road
government contract Gilford, NH 03249
2.8. State what the contract or Purchase and Sale
lease is for and the nature of | Agreement for Unit 27
the debtor's interest Forest Garden
Condominium

State the term remaining
Michael and Mary Beth Meade

 

 

List the contract number of any 53 Linden Ridge Road
government contract Amherst, MA 01002
2.9. State what the contract or Purchase and Sale
lease is for and the nature of | Agreement for Unit 28
the debtor's interest Forest Gardens

Condominium
State the term remaining
Erick and Christine Brown

 

 

List the contract number of any 11 Bicknell Drive
government contract Mendon, MA 01756
Official Form 206G Schedule G: Executory Contracts and Unexpired Leases Page 2 of 3

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Debtor 1 NewCo, LLG Case number (if known)
First Name Middle Name Last Name

ee] Additional Page if You Have More Contracts or Leases

 

2. List all contracts and unexpired leases State the name and mailing address for all other parties with
whom the debtor has an executory contract or unexpired
lease

2.10. State what the contract or Purchase and Sale

lease is for and the nature of | Agreement for Unit 33
the debtor's interest Forest Gardens
Condominium

State the term remaining
Stephen R. and Lorraine J. Clark

 

 

List the contract number of any 39 Huckleberry Lane
government contract Hampton, NH 03843
2.11. State what the contract or Purchase and Sale
lease is for and the nature of | Agreement for Unit 31
the debtor's interest Forest Gardens
Condominium

State the term remaining
Andrew J Erickson and/or Assigns

 

 

List the contract number of any 108 Bell Valley Road
government contract Elkins, NH 03233
Official Form 206G Schedule G: Executory Contracts and Unexpired Leases Page 3 of 3

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Case: 23-10250-BAH Doc #: 1 Filed: 05/12/23 Desc: Main Document Page 23 of 35

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Debtorname NewCo, LLC

United States Bankruptcy Court for the: _DISTRICT OF NEW HAMPSHIRE

Case number (/f known)

C1 Check If this is an
amended filing

 

 

Official Form 206H
Schedule H: Your Codebtors 12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

1. Do you have any codebtors?

Dd] No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
Yes

2. In Column 1, list as codebtors all of the people or entitles who are also Ilable for any debts listed by the debtor in the schedules of
creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Column 1: Codebtor Column 2: Creditor
Name Mailing Address Name Check all schedules
that apply:
2.1 LID
Street (EF
Lic
City State Zip Code
2.2 LID
Street C] E/F
OG
City State Zip Code
2.3 Ob
Street CJ E/F
OG
City State Zip Code
2.4 Lib
Street C1 EF
Lic
City State Zip Code
Official Form 206H Schedule H: Your Codebtors Page 1 of 1

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Deblorname NewCo, LLC

United States Bankruptcy Court for the: _DISTRICT OF NEW HAMPSHIRE

Case number (if known)

[1 Check If this is an
amended filing

 

 

Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals 12/15

GEER) Summary of Assets

1. Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

ja. Real property:

 

 

 

 

 

Copy line 88 from Schedule A/B......csecssssssssssssssssssssssssecasesssesssessessestecscassenessussrsssasesarssecsuersnseaveenesausaessasansensessuecesee $ 8,500,000.00
1b. Total personal property:
Copy line 91A from SCHEGUIC A/B.u....ssscsssecsecsessssuecnssccsssssessesusssssssersestcsasssscsesssesacsessssasctsssascecsavssssevsassussensateueeceee $ 4,673.00
1c. Total of all property:
Copy line 92 from Schedule A/B......ssccssssssessesssssesssseessssssessnsevscsusssvssssssseecasssvecascsvecseansesraccesetsessessavsseuessessarserees $ 8,504,673.00
Summary of Liabilities
2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of SCHECUIC Decsccscccccccsoeccccscoccssseceecoee $ 2,800,000.00
3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
3a. Total claim amounts of priority unsecured claims:
Copy the total claims from Part 1 from line 5a of Schedule E/F....cscc.ccsescccsesscssssssessvsccssesecssassnecseresscesesassvaccussusee $ 0.00
3b. Total amount of claims of nonpriority amount of unsecured claims:
Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F...c.cccssesescssccssssssssssecsessececeeceseece +5 964,050.00
4. Total liabilities cen cuvaguescceneuisatenescaeaeseuneees 8 Sdesnanseranpensennenpganavanenaurecses wee
Lines 2 + 3a + 3b $ 3,764,050.00
Official Form 206Sum Summary of Assets and Liabilities for Non-Individuals page 1

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Debtorname NewCo, LLC

 

United States Bankruptcy Court for the: DISTRICT OF NEW HAMPSHIRE

Case number (if known) 4
Check if this is an
amended filing

 

 

Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors 12/15

 

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.

ee Declaration and signature

| am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
individual serving as a representative of the debtor in this case.

| have examined the information in the documents checked below and | have a reasonable belief that the information is true and correct:

Schedule A/B: Assets—Real and Personal Property (Official Form 206A/B)

Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

Schedule H: Codebtors (Official Form 206H)

Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

Amended Schedule

Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
Other document that requires a declaration

 

ORKORRRRRE

 

| declare under penalty of perjury that the foregoing is true and correct.

Executed on May 12, 2023 X /s/__Jared R. Elliott
Signature of individual signing on behalf of debtor

 

Jared R. Elliott
Printed name

Manger, Sole Member
Position or relationship to debtor

Official Form 202 Declaration Under Penalty of Perjury for Non-Individual Debtors

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B2030 (Form 2030) (12/15)
United States Bankruptcy Court
District of New Hampshire

Inre _NewCo, LLC Case No,
Debtor(s) Chapter 11

 

DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)

1, Pursuant to 11 U.S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that compensation
paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on
behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

[C] FLAT FEE
For legal services, I have agreed to accept ....cc.ssesssessssssssecssecanecsssssnessusesavecsscssvecnscnssueess
Prior to the filing of this statement I have received .......cscsssesssseeecseecceccssvessserssseseensesesse

Balance Due......cesee saa U NANOGEN OK SASKOS STOVE Aas oa Vsnca enenenoncsnsaaananeeevannvone cussesvceymnevanteceneen® $

XJ RETAINER

For legal services, I have agreed to accept and received a retainer Of...csessssessesssesssee $ 20,000.00
The undersigned shall bill against the retainer at an hourly rate Of ....ce..ccssscsssesessersesess $ 395.00

[Or attach firm hourly rate schedule.] Debtor(s) have agreed to pay all Court approved
fees and expenses exceeding the amount of the retainer.

2. The source of the compensation paid to me was:
LD Debtor Other (specify): | Amarnath Trust

3. The source of compensation to be paid to me is:
C1 Debtor XX] Other (specify): Amarnath Trust

4.  [X] have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

[7] Thave agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A copy
of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5. Inretum for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;

. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;

- Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof:

. [Other provisions as needed]

Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of reaffirmation
agreements and applications as needed; preparation and filing of motions pursuant to 11 USC 522(f)(2)(A) for avoidance of
liens on household goods.

aagce

6. By agreement with the debtor(s), the above-disclosed fee does not include the following service:
Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or any other
adversary proceeding.

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In re NewCo, LLC Case No.

 

Debtor(s)

DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
(Continuation Sheet)

 

CERTIFICATION

I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in this
bankruptcy proceeding.

 

 

May 12, 2023 /s/ Jesse Redlener
Date Jesse Redlener
Signature of Attorney

Ascendant Law Group, LLC
2 Dundee Park Drive
Suite 102
Andover, MA 01810
Fax:
_jredlener@ascendantlawgroup.com
Name of law firm

 

 

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MUUMIAURI SAUL ecLielamomtelMUN aaron etter
Debtor name | NewCo, LLC

United States Bankruptcy Court for the: DISTRICT OF NEW HAMPSHIRE

 
   
 

(1 Check if this is an

 
 

 

Case number (if known): amended filing

 

 

 

Official Form 204

Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders 12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 

 

 

Name of creditor and Name, telephone number | Nature of claim Indicate if claim | Amount of claim

complete mailing address, | and email address of (for example, trade Is contingent, | If the claim Is fully unsecured, fill In only unsecured claim amount, If

Including zip code creditor contact debts, bank loans, unliquidated, or | claim is partially secured, fill in total claim amount and deduction for
professional services, disputed value of collateral or setoff to calculate unsecured claim.
and government Total claim, if Deduction for value | Unsecured claim
contracts) partially secured of collateral or setoff

Anand and Nancy Contingent $0.00

Lange-Vaidya

34 Birch Street
Needham Heights,
MA 02494

BDBC, LLC d/b/a Trade debt Contingent $316,050.00

Century 21 Disputed
Mountainside
P.O. Box 850

 

Lincoln, NH 03251
Cory and Michele Contingent $0.00
Madaris

7 Lincoln Road
Wayland, MA 01778
Dupuis Contruction, Trade debt $48,000.00
LLC

55 Marlboro Rd, Suite
13

Brattleboro, VT 05301
Erick and Christine Contingent $0.00
Brown

11 Bicknell Drive
Mendon, MA 01756
Karl and Mary Zonghi Contingent $0.00
4 Spruce Circle
Hopedale, MA 01747
Kevin P. and Meghan Contingent $0.00
G. Klauer

55 Blair Lane
Falmouth, MA 02540
Michael and Mary Contingent $0.00
Beth Meade

53 Linden Ridge
Road

Amherst, MA 01002

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Official form 204 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims page 1

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Debtor NewCo, LLC

 

Name

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Name of creditor and
complete malling address,
including zlp code

Name, telephone number
and emall address of
creditor contact

Nature of claim

(for example, trade
debts, bank loans,
professional services,
and government
contracts)

Indicate if clalm
Is contingent,
unliquidated, or
disputed

Amount of claim

If the clalm Is fully unsecured, fill in only unsecured claim amount. If
clalm Is partially secured, fill in total clalm amount and deduction for

value of collateral or se

‘off to calculate unsecured clalm.

 

Total claim, if
partially secured

 

Deduction for value
of collateral or setoff

Unsecured claim

 

Mt. Coolidge
Construction, LLC
3 Amalia Drive
Nashua, NH 03063

Trade debt

$600,000.00

 

Pine Bluff Terrace
Mountain House
Realty

26 Bristol Road
Peabody, MA 01960

Contingent

$0.00

 

Shirley Freeman
2696 Lake Shore
Road

Gilford, NH 03249

Contingent

$0.00

 

 

Stephen R. and
Lorraine J. Clark

39 Huckleberry Lane
Hampton, NH 03843

 

 

 

Contingent

 

 

 

$0.00

 

Official form 204

Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims

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Inre | NewCo, LLC

United States Bankruptcy Court

District of New Hampshire

Case No.
Debtor(s) Chapter 11

CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for _NewCo, LLC _ in the above captioned action, certifies that the following is a (are)
corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any class of
the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:

[X] None [Check if applicable]

May 12, 2023
Date

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/s/ Jesse Redlener
Jesse Redlener

Signature of Attorney or Litigant
Counsel for NewCo, LLC
Ascendant Law Group, LLC

2 Dundee Park Drive

Suite 102

Andover, MA 01810

Fax:
jredlener@ascendantlawgroup.com

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UNITED STATES BANKRUPTCY COURT

DISTRICT OF NEW HAMPSHIRE
In re:

NewCo, LLC Bk. No.

2

Debtor Chapter 11

 

 

VERIFICATION OF CREDITOR MAILING LIST

The above named debtor hereby certifies under penalty of perjury that the attached master mailing list of

creditors, consisting of 2 pages is complete, correct and consistent with the debtor’s schedules pursuant to LBRs
and assumes all responsibility for errors and omissions.

 

 

Date:_May 12, 2023 /s/ Jared R. Elliott
Debtor Signature
Jared R. Elliott
Print Name

Address _3 Amalia Drive
Nashua, NH 03063
Tel. No.

 

 

LBF 1007-2 (Eff. 11/1/16)
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Anand and Nancy Lange-Vaidya
34 Birch Street
Needham Heights, MA 02494

Andrew J Erickson and/or Assigns
108 Bell Valley Road
Elkins, NH 03233

BDBC, LLC d/b/a Century 21 Mountainside
P.O. Box 850
Lincoln, NH 03251

Cory and Michele Madaris
7 Lincoln Road
Wayland, MA 01778

Dupuis Contruction, LLC
55 Marlboro Rd, Suite 13
Brattleboro, VT 05301

Erick and Christine Brown
11 Bicknell Drive
Mendon, MA 01756

Karl and Mary Zonghi
4 Spruce Circle
Hopedale, MA 01747

Kevin P. and Meghan G. Klauer
55 Blair Lane
Falmouth, MA 02540

Michael and Mary Beth Meade
53 Linden Ridge Road
Amherst, MA 01002

Mt. Coolidge Construction, LLC
3 Amalia Drive
Nashua, NH 03063

Pine Bluff Terrace Mountain House Realty
26 Bristol Road
Peabody, MA 01960

Richard D. and Kimberly R. Klauber
11 Townline Road
Norfolk, MA 02038

Shirley Freeman
2696 Lake Shore Road
Gilford, NH 03249

Stephen R. and Lorraine J. Clark
39 Huckleberry Lane
Hampton, NH 03843
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Yager Family Management, LLC
57 Flanagan Drive
Framingham, MA 01701
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Dupuis Contruction, LLC
55 Marlboro Rd, Suite 13
Brattleboro, VT 05301

Mt. Coolidge Construction, LLC
3 Amalia Drive
Nashua, NH 03063

Yager Family Management, LLC
57 Flanagan Drive
Framingham, MA 01701
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United States Bankruptcy Court

District of New Hampshire
Inre _NewCo, LLC

Case No.
Debtor(s) Chapter 11
LIST OF EQUITY SECURITY HOLDERS

Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

Name and last known address or place of Security Class Number of Securities Kind of Interest
business of holder

-NONE-

DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

I, the Manger, Sole Member of the corporation named as the debtor in this case, declare under penalty of perjury that
Ihave read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and
belief.

Date Moy it z O23 Signature /s! Jared R. Elliott

Jared R. Elliott

Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
18 U.S.C. §§ 152 and 3571,

Sheet 1 of 1 in List of Equity Security Holders
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